Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 1 of 6 PageID #: 72



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )
                                                    )
 vs.                                                ) Case No.: 4:16-cr-258 CEJ (NAB)
                                                    )
 ALDEN DICKERMAN,                                   )
                                                    )
        Defendant.                                  )

         MOTION AND INCORPORATED MEMORANDUM IN SUPPORT OF
              DEFENDANT’S MOTION FOR FRANKS HEARING

        COMES NOW Defendant, Alden Dickerman, by and through counsel, and pursuant

 to the United States Supreme Court decision in Franks v. Delaware, 438 U.S. 154 (1978)

 hereby requests this Honorable Court grant Defendant an evidentiary hearing on the veracity

 and sufficiency of the affidavit supporting the search warrant issued in the above matter on

 August 18, 2015. In support of this Motion, Defendant states as follows:

        I.      STATEMENT OF FACTS

        On August 18, 2015, Detective Michael Slaughter (“Detective Slaughter”) presented

 an application and affidavit for search warrant to search Defendant’s residence for evidence

 of child pornography. See Exhibit A. In his affidavit, Detective Slaughter stated that he had

 received information from Special Investigator Wayne Becker (“SI Becker”) related to child

 pornography. Id. at ¶ 4. Detective Slaughter stated that SI Becker had begun an undercover

 operation in September 2011 “collecting keys and files being shared on a ‘Freenet,’ a

 publicly available peer to peer network, in order to build a data base [sic] of keys associated

 with known or suspected child pornography images and videos.” Id. “Freenet is a distributed,

 Internet based, peer-to-peer network which lets a user anonymously share files and chat on

 forums.” Id. at ¶ 12. “Communications between computers running Freenet, or nodes, are



                                                1
Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 2 of 6 PageID #: 73



 encrypted and routed through other Freenet nodes making it difficult to determine who is

 requesting the information and what the content is of the information being requested.” Id.

        Detective Slaughter’s affidavit additionally stated that SI Becker “began running

 copies of Freenet that had been modified for law enforcement to log the IP address, key, and

 date and time of requests that were sent to these law enforcement Freenet nodes,” and

 “[t]hese keys are then compared to keys of known child pornography.” Id. at ¶ 5. Detective

 Slaughter then stated that SI Becker “observed IP address 172.12.235.62 routing and/or

 requesting suspected child pornography file blocks.” Id. at ¶ 6. And “[t]he number and timing

 of the requests was significant enough to indicate that the IP address was the apparent

 original requester of the file.” Id. (emphasis added). Detective Slaughter’s affidavit then went

 on to explain that the IP address 172.12.235.62 was linked to the address of Defendant’s

 residence. Id. at ¶¶ 9-10.

        The warrant to search Defendant’s residence for evidence of child pornography was

 issued and executed on August 18, 2015. See Exhibit A.

        Defendant filed a Motion to Suppress Evidence contemporaneously with this Motion

 which makes additional arguments objecting to Detective Slaughter’s affidavit based on

 Franks and its progeny.

        II.     ARGUMENT

        The Franks rule for challenging the veracity of a sworn statement used by police to

 procure a search warrant provides the following:

        [W]here the defendant makes a substantial preliminary showing that a false
        statement knowingly and intentionally, or with reckless disregard for the truth,
        was included by the affiant in the warrant affidavit, and if the allegedly false
        statement is necessary to the finding of probable cause, the Fourth
        Amendment requires that a hearing be held at the defendant's request. In the
        event that at that hearing the allegation of perjury or reckless disregard is
        established by the defendant by a preponderance of the evidence, and, with the
        affidavit's false material set to one side, the affidavit's remaining content is
        insufficient to establish probable cause, the search warrant must be voided and
        the fruits of the search excluded to the same extent as if probable cause was

                                                2
Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 3 of 6 PageID #: 74



        lacking on the face of the affidavit.

 See Franks v. Delaware, 438 U.S. 154, 155-56 (1978). “To mandate an evidentiary hearing,

 the challenger's attack must be more than conclusory and must be supported by more than a

 mere desire to cross-examine.” Id. at 171. “There must be allegations of deliberate falsehood

 or of reckless disregard for the truth, and those allegations must be accompanied by an offer

 of proof.” Id. “They should point out specifically the portion of the warrant affidavit that is

 claimed to be false; and they should be accompanied by a statement of supporting reasons.”

 Id. And “[a]ffidavits or sworn or otherwise reliable statements of witnesses should be

 furnished, or their absence satisfactorily explained.” Id.

        A request for a Franks hearing can also be based on a theory of omissions of fact,

 where Defendant “must prove first that facts were omitted with the intent to make, or in

 reckless disregard of whether they make, the affidavit misleading, and, second, that the

 affidavit, if supplemented by the omitted information, could not support a finding of probable

 cause.” See United States v. Allen, 297 F.3d 790, 795 (8th Cir. 2002).

        Here, Detective Slaughter’s affidavit was inherently misleading and contained false

 statements and relevant omissions that, together, permitted the magistrate to find probable

 cause for the issuance of the August 18, 2015 search warrant. Defendant has submitted an

 offer of proof in the form of the attached Affidavit of Steve Dougherty, an expert in the

 Freenet software, which is sufficient to mandate an evidentiary hearing under Franks. See

 Ex. B, Aff. of Steve Dougherty; Franks, 438 U.S. at 171.

        Detective Slaughter’s statement that “[t]he number and timing of the requests was

 significant enough to indicate that the IP address was the apparent original requester of the

 file,” when referencing the IP address of the laptop ultimately seized from Defendant, was an

 intentionally or recklessly false representation of the findings apparent from SI Becker’s

 undercover operation. Ex. A. The significance of the number and timing of requests could not


                                                 3
Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 4 of 6 PageID #: 75



 have been apparent unless SI Becker independently verified assumptions upon which the

 validity of his conclusions depended. Ex. B. The affidavit makes no mention of any effort by

 SI Becker to independently verify those assumptions. See Ex. A. In fact, the number and

 timing of requests was not significant enough, without due verification of SI Becker’s base

 assumptions, to indicate that the IP address associated with Defendant’s laptop was the

 apparent original requester of the file. Ex. B. The finding of probable cause to issue the

 August 18, 2015 search warrant was entirely dependent on these false statements, since it was

 the only evidence identifying the Freenet requests as originating from the IP address law

 enforcement associated with Defendant. See Franks, 438 U.S. at 155-56 (mandating an

 evidentiary hearing upon a showing of proof that intentionally or recklessly false statements

 were made in the affidavit, and that those statements were necessary to a finding of probable

 cause).

           Detective Slaughter intentionally or recklessly omitted from his affidavit relevant

 discussion regarding the behavior of Freenet’s routing necessary to estimate the probability

 that received requests originated from the peer they were received from (instead of forwarded

 from elsewhere) based in part on how many requests were received. Ex. A; Ex. B. Without an

 understanding of the routing behavior and how it was working on the given day that the data

 were collected, any interpretation of the data is compromised and meaningless. Ex. B. In his

 affidavit, Detective Slaughter also intentionally or recklessly omitted any discussion about

 the potential for false positives that might have resulted from SI Becker’s undercover

 operation. Ex. A. Such an omission was inherently misleading because false positives are a

 significant concern that is not properly accounted for in investigating Freenet activity via the

 attack utilized by law enforcement in this case. Ex. B. at ¶¶ 17, 18. Inclusion of these omitted

 facts illustrating the inherent weaknesses of the law enforcement attack would have




                                                  4
Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 5 of 6 PageID #: 76



 materially undermined any potential for a finding of probable cause based on the alleged link

 between the requests and the IP address law enforcement linked to Defendant.

        The search warrant affidavit here centered on the conclusion that the number and

 timing of the requests from the IP address law enforcement linked to Defendant was

 “significant enough” to suggest the IP address was associated with the original requestor. In

 conjunction with the arguments made by Defendant in his Motion to Suppress Evidence,

 submitted contemporaneously with this Motion, Defendant’s showing of proof regarding

 Detective Slaughter’s false and omitted statements, which were necessary to the finding of

 probable cause for the August 18, 2015 search warrant, is sufficient to entitle him to an

 evidentiary hearing under Franks. See Franks, 438 U.S. 155-56; Ex. B. See Allen, 297 F.3d

 at 795 (requiring evidentiary hearing upon a showing that the omissions intentionally or

 recklessly made the affidavit misleading and that if the omitted information were included,

 the affidavit could not support a finding of probable cause).

        WHEREFORE, for the above and foregoing reasons, Defendant respectfully requests

 this Court grant Defendant a Franks evidentiary hearing on the veracity and sufficiency of the

 affidavit supporting the August 18, 2015 search warrant issued in this matter.



                                                        Respectfully submitted,

                                               ROSENBLUM, SCHWARTZ, ROGERS & GLASS, PC

                                                    By: /S/ Adam D. Fein
                                                        ADAM D. FEIN, #52255 MO
                                                        Attorney for Defendant
                                                        120 S. Central Avenue, Suite 130
                                                        Clayton, Missouri 63105
                                                        (314) 862-4332
                                                        Facsimile (314)862-8050
                                                        Email: afein@rsrglaw.com




                                                5
Case: 4:16-cr-00258-HEA Doc. #: 21 Filed: 10/24/16 Page: 6 of 6 PageID #: 77



                               CERTIFICATE OF SERVICE

        I hereby certify that on October 24, 2016, the foregoing was electronically filed with
 the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
 Ms. Colleen C. Lang, assistant United States attorney.




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